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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11
     ANDREAS FALLEY, et al.,                             Case No. 3:16-cv-03744-JD
12
                         Plaintiffs,                     NOTICE OF VOLUNTARY DISMISSAL
13
                                                         (FLEX MARKETING GROUP LLC)
14          v.

15   QUIBIDS, LLC., et al.,                              Judge: Hon. James Donato
16                       Defendants.
17

18
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Andreas Falley and
19

20   Jung Kim (collectively “Plaintiffs”) voluntarily dismiss defendant Flex Marketing Group, LLC

21   with prejudice.

22

23
     DATED: December 7, 2016                       WALTON TWU LLP
24

25                                                 /s/ Jim Twu__________
                                                   Jim Twu
26
                                                   Attorneys for Plaintiffs
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28
     Case No. 3:16-cv-03744-JD
                                                                                              _________
                                                       1
                            Notice of Voluntary Dismissal (Flex Marketing Group LLC)
